Case 1:21-cv-00456-LEK-RT Document 75 Filed 03/10/22 Pagelof1 PagelD#: 645

March 10, 2022

RE: Preliminary Injunction Hearing
March 11, 9:45 am HST
Spriestersbach v State of Hawai ‘i, (21-cv-00456-LEK)

Dear Judge Kobayashi,

My name is Kenneth Lawson and I am requesting video access to the motion for
preliminary injunction hearing in Spriesterbach v State of Hawai‘i scheduled for March
11, 2022, at 9:45 a.m.

I agree to remain muted and off-camera during the entire proceeding. I will not record the
proceeding. If granted access, I will not share the login-access information in any form
with others.

I would like to request video access to all future on-the-record proceedings in this case
that are conducted by video conference.

  

enneth Lawson
Cell 808-542-7978
